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                                         UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF ILLINOIS

In re:                                                   )                Case No. 21-40413
                                                         )                  Original Chapter 13 Plan
JORDAN LOYDE SAYGE,                                      )                  Amended Plan Number 4 .
                                                         )                (Changes must be underlined)
                             Debtor(s)                   )                  Limited Service Applicable

                                CHAPTER 13 PLAN AND NOTICE OF TIME TO OBJECT
CHAPTER 13 PROCEDURES MANUAL The provisions of the Court’s Chapter 13 Procedures Manual are incorporated
herein by reference and made part of this Plan. This manual is available at www.ilsb.uscourts.gov.

YOUR RIGHTS WILL BE AFFECTED You should read this plan carefully and discuss it with your attorney. Anyone
opposing any provision of this Plan as set forth below must file a timely written objection. This Plan may be confirmed
without further notice unless written objection is filed and served within 21 days after the conclusion of the 11 U.S.C. §
341(a) Meeting of Creditors. Objections to an amended Plan must be filed and served within 21 days after the date of filing
of the amended Plan.

THIS PLAN DOES NOT ALLOW CLAIMS A Creditor must file a timely Proof of Claim to receive distribution as set
forth in this Plan. Even if the Plan provides for payment, no payment will be made unless a Proof of Claim is timely filed.
If the debtor is not represented by counsel, any party filing a proof of claim must serve the debtor with notice that the claim
has been filed and with a copy of the claim. Any pleadings that are filed in relation to the claim also must be served on the
debtor.

IF A TIMELY CLAIM IS NOT FILED, AS PERMITTED BY FED. R. BANKR. P. 3002(c), 3004 OR FURTHER
ORDER OF THIS COURT, ALL AMOUNTS RECEIVED BY THE TRUSTEE FOR THE UNFILED CLAIM
WILL BE DISBURSED TO OTHER CREDITORS PURSUANT TO THE ORDER OF DISTRIBUTION.

If you have a secured claim, this Plan may void or modify your lien if you do not object to the Plan.

The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
not the plan includes any or all of the following items. If an item is checked as “Not Included” or if both boxes are
checked, the provision will be void if set out later in the plan.


I.       A limit on the amount of a secured claim, set out in Sections 3E, 3F, or 4B, which      Included       Not Included
         may result in a partial payment or no payment at all to the secured creditor

II.      Avoidance of a judicial lien or nonpossessory, non-purchase money security              Included       Not Included
         interest, set out in Section 9

III.     Nonstandard provisions set out in Section 24.                                           Included       Not Included


1.     PAYMENTS
The Debtor submits to the Standing Chapter 13 Trustee the following regular periodic plan payments to be received within
the applicable commitment period of the Plan. These payments represent the Debtor(s)” anticipated projected disposable
income. The payment schedule is as follows:

                      Start Month #                      End Month #                 Monthly Payment
                  TOTAL PAID IN                  5                              $4,492.00
                  THROUGH
                  6                              60                             $2,921.00

Wage Order Required:           Yes       No          ePay     TFS (Must list employer information)
The Debtor from whose check the payment is deducted: JORDAN LOYDE SAYGE
Employer’s name, address, city, state, phone: The Systems Group, ATTN: Payroll, 214 N. Washington Avenue,
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#700, El Dorado, AR 71730



                               IMPORTANT PAYMENT INFORMATION

     NOTE: The regular periodic plan payments to the Trustee must commence within 30
     days of the filing of the petition. The Debtor(s) must make direct payments to the Trustee
     by money order or cashier’s check until the employer deduction begins. Include your
     name and case number on your money order or cashier’s check. Contact the Trustee for
     the payment mailing address.

     In addition, the Debtor(s) may have to pay into their Plan additional non-regular
     payments as a result of tax refunds (See, Paragraph 19) or if they receive any other non-
     regular income, such as lawsuit proceeds, etc. (See, Paragraph 20).




ORDER OF DISTRIBUTION
The following order of priority shall be utilized with respect to all payments received under the Plan terms:
     1.     The Trustee's fees for each receipt, the percentage of which is fixed by the U.S. Trustee;
     2.     Any unpaid portion of the filing fee;
     3.     Notice fees equal to $.50 per page of the Plan, multiplied by the number of creditors listed on the debtor’s
            mailing matrix;
     4.     Ongoing mortgage payments on real estate;
     5.     Allowed administrative expenses;
     6.     Attorney’s fees and other secured creditors as set forth in the Chapter 13 Procedures Manual;
     7.     Priority creditors as set forth in the Plan;
     8.     Any special class of unsecured creditors as set forth in the Plan; and
     9.     General unsecured creditors.
2.    ADMINISTRATIVE EXPENSES

                               Administrative Creditor                                        Estimated Amount of Claim




ATTORNEY’S FEES
      Attorney name: KARL J. WULFF, KATZ & WULFF, P.C., 430 REGENCY CENTRE, COLLINSVILLE, IL 62234
         Flat fee through Plan $4,000.00 OR
         The Debtor’s counsel elects to be paid on an hourly basis and will file a fee application(s) for approval of fees. No
      fees shall be disbursed until a fee application is approved by the Court. However, the Trustee shall reserve a total of
      $4,500.00 for payment toward such application, pursuant to the Order of Distribution and the Chapter 13 Procedures
      Manual.
      The attorney for the debtor(s) shall be paid attorney’s fees as specified in the plan and according to the Court’s Chapter
      13 Procedures Manual. Confirmation of this plan does not remove the attorney for the debtor as attorney of record in
      this case. The attorney for the debtor shall remain counsel of record until the earlier of either closing of the case or the
      entry of an order allowing the attorney for the debtor to withdraw.
3.    REAL ESTATE – CURING DEFAULTS AND MAINTAINING PAYMENTS
      Post-petition payments shall be made by the Trustee if (i) a pre-petition default exists; (ii) a post-petition, pre-
      confirmation default occurs; or (iii) a post-confirmation default arises that cannot be cured by the Debtor within six
      months. Otherwise, post-petition payments may be made directly by the Debtor to the creditor. Where the Trustee is
      disbursing the ongoing payments, the first mortgage payment to be disbursed will be that which becomes due in the
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    second month after the month in which the petition is filed. For example, if the petition was filed in January, the first
    mortgage payment is due in March. In this situation, a mortgage holder should file a “pre-petition” claim that includes
    both the pre-petition arrearage and all post-petition contractual payments not disbursed by the Trustee as set forth
    above. Similarly, a Debtor must include the amount of any such payment(s) in the pre-petition arrearage calculation.
    (See the Chapter 13 Procedures Manual for examples and further instruction.)

    For ongoing payments brought in due to a post-petition default, payments by the Trustee are to begin on the first due
    date after the month in which the amended or modified Plan is filed, or as otherwise ordered by the Court. All
    payments received from the Trustee must be credited by the creditor as the Plan directs. Pursuant to 11 U.S.C. §
    524(i), ongoing post-petition mortgage payments tendered under the Plan by either the Trustee or the Debtor shall be
    credited by the holder and/or servicer of said claim only to such payments and may not be used for any other purpose
    without prior approval of the Court. Pursuant to 11 U.S.C. § 524(i), payments for pre-petition mortgage arrearages
    tendered under the Plan by the Trustee shall be credited by the holder and/or servicer of said claim only to such
    arrearages and may not be used for any other purpose without prior Court approval

    The Chapter 13 Procedures Manual sets forth the terms concerning notice of payment changes; notice of fees, expenses
    and charges; form and content of said notice; determination of fees, expenses or charges; notice of final cure payment;
    response to notice of final cure payment; determination of final cure and payment; and the consequences of the failure
    to notify. If a conflict arises between the terms set forth in the Chapter 13 Procedures Manual and any bankruptcy rule,
    the federal and local bankruptcy rule(s) shall supersede the Manual.
A) Payment of ongoing post-petition mortgage payments by the           Debtor(s) or      Co-Obligor (check one) is as
follows:

                            Lien              Property Address                 Estimated            Payment        Payment
       Creditor
                            No.                                              Monthly Payment        Start Date     End Date




B) Payment of ongoing post-petition mortgage payments by the Trustee is as follows:

                                                                               Estimated
                                                                                                    Payment        Payment
        Creditor            Lien              Property Address               Monthly Payment
                                                                                                    Start Date     End Date
                            No.




The estimated monthly payment amount referenced in Part 3A and 3B above may change based upon Proof(s) of Claim
filed and/or subsequent Notices of Mortgage Payment Change.


C) Payment of pre-petition arrearages; first post-petition (“limbo”) payment; and/or post-petition arrearages,
arising from a default in mortgage payments that were being made directly by the Debtor to the creditor, are as
follows:

                         Lien                                                   Estimated Claim            Type of Payment (i.e.
   Creditor              No.                Property Address                                                Limbo, Pre or Post-
                                                                                                                 petition)




D) Real Estate Secured Claims which will be paid in full:
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                             Lien
        Creditor             No.                         Property Address                     Estimated Claim     Interest Rate




THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
TITLED “INCLUDED” IN SECTION I ABOVE.

E) Residential Real Estate Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Lien Stripping”):

The Debtor will file a separate adversary proceeding to avoid the following wholly unsecured mortgages. Claims listed in
this subsection are debts secured by real estate on the Debtor’s primary residence. These claims are being modified
pursuant to 11 U.S.C. § 1322(b)(2). The real estate mortgage in question is not protected by the anti-modification provision
of Section 1322(b)(2) either because the value of the real estate minus any priority liens indicates no value to support a
secured claim under 11 U.S.C. § 506(a) or that the loan has matured pursuant to 11 U.S.C. § 1322(c). (The appropriate
section is indicated below.) That pursuant to 11 U.S.C. § 1325(a)(5)(B) the creditor will continue to retain the lien on the
residential real estate until the Debtors receive a discharge pursuant to Section 1328 of the Bankruptcy Code. Upon the
entry of the order of discharge the lien is voided. These claims will be paid either the value of the secured property as stated
below or the secured amount of that claim as listed on the Proof of Claim, whichever is less, with interest as provided
below. Any portion of a claim that exceeds the value of the secured property will be treated as an unsecured claim without
the necessity of an objection.

                                      Value of Real                                                               Code Section
                                                                                                  Estimated
                 Property address      Estate After           Estimated         Interest                          Relied Upon
 Creditor                                                                                         Monthly
                                    Priority Liens are         Claim              Rate                           [1322(b)(2) or
                                                                                                  Payment
                                        Deducted                                                                    1322(c)]




THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
TITLED “INCLUDED” IN SECTION I ABOVE.
F) Real Estate Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Cram Down Claims”):

Claims listed in this subsection are debts secured by real estate that is not the Debtor’s primary residence. These claims
will be paid either the value of the secured property as stated below or the secured amount of that claim as listed on the
Proof of Claim, whichever is less, with interest as provided below. Any portion of a claim that exceeds the value of the
secured property will be treated as an unsecured claim without the necessity of an objection.



                                                   Value (after                                                 Estimated
      Creditor             Property Address        deducting all     Estimated Claim         Interest Rate      Monthly
                                                   senior liens)                                                Payment




G) Real Estate Property Tax Claims shall be paid as follows: To the extent that taxes become due during the Plan, they
will be paid directly by the Debtor or pursuant to any applicable note and mortgage on the property. Real estate taxes that
were due when the bankruptcy was filed will not be cured or paid by the Trustee under this Plan. Rather, the Debtor(s)
need to make separate arrangements to pay these unpaid taxes directly to the party to whom they are owed.


4. SECURED CLAIMS AND VALUATION OF COLLATERAL UNDER 11 U.S.C. SECTION 506
A) Secured Claims to which 11 U.S.C. § 506 Valuation is NOT Applicable (“910 Claims”):
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Claims listed in this subsection are debts secured by a purchase-money security interest in a personal motor vehicle
acquired for the personal use of the debtor, incurred within the 910 days preceding the date of the filing of the bankruptcy
or debts secured by a purchase-money security interest in "any other thing of value” incurred within one year preceding the
date of the filing of the bankruptcy. These claims will be paid in full with interest as provided below.


                                                                        Estimated         Interest        Estimated
           Creditor                          Collateral
                                                                         Claim              Rate        Monthly Payment




THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
TITLED “INCLUDED” IN SECTION I ABOVE.
B) Secured Claims to which 11 U.S.C. § 506 Valuation is Applicable (“Cram Down Claims”):
Claims listed in this subsection are debts secured by personal property not described in the immediately preceding
paragraph of this Plan. These claims will be paid either the value of the secured property as stated below or the secured
amount of that claim as listed on the Proof of Claim, whichever is less, with interest as provided below. Any portion of a
claim that exceeds the value of the secured property will be treated as an unsecured claim without the necessity of an
objection.
For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a
proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed below.


                                                                                                             Estimated
      Creditor                Collateral             Value         Estimated Claim      Interest Rate        Monthly
                                                                                                             Payment
 Lyndon Southern          2016 Keystone            $25,000.00         $53,523.86           3.25%              $199.31
     Insurance            Montana High
   (successor in         Country 5th-wheel
     interest to               RV
    Evansville
 Teachers Credit
       Union)
 Lyndon Southern         2017 Ford F-250           $52,755.33         $52,755.33           3.25%              $953.82
     Insurance          Lariat DRW Diesel
   (successor in
     interest to
    Evansville
 Teachers Credit
       Union)


C) Surrender of Property:
This section allows for the surrender of collateral. The Debtor surrenders any and all right, title and interest in the
following collateral. If the creditor believes that it may be entitled to a deficiency claim under applicable law, then the
secured creditor must file its secured claim before the non-governmental claims bar date. Within 90 days following the
claims bar date, the secured creditor shall file an amended Proof of Claim indicating the unsecured deficiency
balance (if any), unless an extension is approved by the Court. Any objection to a timely filed deficiency claim shall be
filed within 45 days of the date the deficiency claim was filed, or the same is deemed allowed. Absent leave of Court,
deficiency claims filed outside of this 90-day period (or any extension granted by the Court) are deemed disallowed without
action by any party. Upon entry of the Order lifting the automatic stay, the Debtor must reasonably cooperate with the
creditor in either making the collateral available for pickup or in supplying information of the collateral’s last known
location.
 The debtor(s) elect to surrender to each creditor listed below the collateral that secured the creditor’s claim. The
debtor(s) request that upon confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the
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collateral only and that the stay under § 1301 be terminated in all respects.
                                                                                          Estimated Monies Previously
                   Creditor                          Collateral Surrendered
                                                                                               Paid by the Trustee




5.              SEPARATELY CLASSIFIED CLAIMS
                                       Collateral            Secured/         Estimated        Interest
           Creditor                                                                                               Paid By
                                                            Unsecured          Claim            Rate




6.    EXECUTORY CONTRACTS AND UNEXPIRED LEASES
All executory contracts and unexpired leases are rejected, except the following which are assumed:
      A) Payment of executory contracts and unexpired leases directly by the Debtor is as follows:
                                                                                                                   # of
                   Creditor                               Collateral                    Monthly Payment          Payments
                                                                                                                 Remaining




      B) Payment of arrearages by the Trustee is as follows:
                                                                                                                  Estimated
        Creditor              Collateral                   Address                   Est. Claim     Int. Rate     Monthly
                                                                                                                  Payment




Since the claims in Part 3E, 3F, 4A, 4B and 6B are based on the allowed claim amount, the estimated monthly payment
in those sections is provided by the Debtor for reference only.


7.    PRIORITY CLAIMS
     A) Domestic Support Obligations:
     The Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim and not
     through the Chapter 13 Plan.

     1. Name of Debtor owing a domestic support obligation: _______________________________________________
                                                                                                                  Is DSO
                                                                                                                 Ongoing
           DSO Claimant Name                   Address, City, State and ZIP        Estimated Arrearages
                                                                                                                Obligation?
                                                                                                                 [Y or N]




     B) Domestic Support Obligations Assigned to or Owed to a Governmental Unit Under 11 U.S.C. § 507(a)(1)(B):
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                                                                                     Estimated Amount to be   State Agency
             Government Entity                      Estimated Arrearages
                                                                                              Paid            Case Number




     C)    Secured Income Tax Claims and Priority Claims Under 11 U.S.C. § 507:
     All allowed secured tax obligations shall be paid in full by the Trustee as set forth herein. All allowed priority claims
     shall be paid in full by the Trustee as set forth herein, unless the creditor agrees otherwise:



                                                     Priority OR Secured                 Estimated Claim       Interest Rate
                     Creditor
                                                 (Must list the classification)              Amount            (If Secured)
Illinois Dept. of Revenue                      Priority                              $3,682.94                N/A
Illinois Dept. of Revenue                      Secured                               $1,759.21                3.25%
Internal Revenue Service                       Priority                              $6,114.64                N/A

8.    LONG-TERM DEBTS PAID DIRECTLY BY THE DEBTOR OR CO-DEBTOR TO THE CREDITOR
                                                                                                               Number of
                                                           Is there a Co-           Estimated     Monthly
          Creditor                Collateral                                                                   Payments
                                                          Debtor? [Y or N]        Claim Amount    Payment
                                                                                                               Remaining




THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
TITLED “INCLUDED” IN SECTION II ABOVE.
9.    AVOIDANCE OF LIENS

The Debtor will file a separate motion to avoid the following non-purchase money security interests, judicial liens, or other
liens that impair exemptions. Until such time as a motion is filed, the Trustee shall make no disbursements thereon. Upon
entry of an order avoiding the lien, the Trustee shall treat said claims as unsecured and pay them pursuant to paragraph 11.


                                                                                                    Amount of Lien to be
                     Creditor                                    Collateral
                                                                                                        Avoided




10. UNSECURED CLAIMS
The minimum amount the Debtor must pay to all classes of allowed non-priority unsecured claims is $ 68,000.00 or
100%.

11. POST PETITION CLAIMS
Post-petition claims shall not be paid by the Trustee unless the Debtor amends the Plan to specifically address such claims.
Absent such an amendment, the Trustee shall not disburse any monies on said claims and these debts will not be
discharged.

12. LIEN RETENTION
With respect to each allowed secured claim to be paid in full through the Plan, other than mortgage or long-term debts, the
holder of such claim shall retain the lien securing its claim until the earlier of (i) the payment of the underlying debt
determined under non-bankruptcy law; or (ii) entry of the discharge order under 11 U.S.C. § 1328.

13. PROOF OF LIEN PERFECTION
Any individual and/or entity filing a secured claim must provide the Chapter 13 Trustee, the Debtor, and Debtor’s counsel
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with proof of lien perfection at the time its claim is filed and shall attach such documentation to its Proof of Claim pursuant
to Bankruptcy Rule 3001.

14. VESTING OF PROPERTY OF THE ESTATE
Only property of the estate listed on an original or amended Schedule A/B as of the date of confirmation shall revest in the
Debtor upon confirmation of the Debtor’s Plan. All undisclosed, pre-petition property shall vest in the Trustee and become
property of the estate. Property acquired by the Debtor post-petition shall vest in the Trustee and become property of the
estate as contemplated by 11 U.S.C. Section 1306, subject to the dollar limitations and procedures set forth in Paragraph
20, Assets Acquired Post-Petition, below. (This includes, for example, property previously disclosed, such as a personal
injury claim, worker’s compensation claim, inheritance or class action, but liquidated and/or acquired post-petition.)
Furthermore, the Debtor shall promptly notify the Trustee of the acquisition of any right and/or interest in such property.

15. PAYMENT NOTICES
Creditors in Section 3 of this Plan (whose rights are not being modified) and in Section 6 of this Plan (Assumed Executory
Contracts/Unexpired Leases) may continue to mail customary notices or coupons to the Debtor or Trustee notwithstanding
the automatic stay.

16. OBJECTIONS TO CLAIMS
Absent leave of Court, any objection to a timely filed general unsecured claim shall be filed within 45 days following the
expiration of the claims bar date for that claim. Objections to secured and/or amended claims shall be filed within 45 days
from the applicable claims bar date or within forty-five 45 days from the date of filing of the claim, whichever is later.

17. STAY RELIEF
Notwithstanding any provision contained herein to the contrary, distribution to a secured creditor(s) who obtains relief from
the automatic stay will terminate immediately upon entry of an Order lifting or terminating the stay, except to the extent
that an unsecured deficiency claim is subsequently filed and allowed. Absent an Order of the Court, relief from the
automatic stay shall also result in the Trustee ceasing distribution to all junior lien holders.

18. DEBTOR REFUNDS
Upon written request of the Debtor or Debtor(s)’ counsel, the Trustee is authorized to refund to the Debtor, without Court
approval, any erroneous overpayment of regular monthly payments received during the term of the Plan that have not been
previously disbursed.

19. DEBTOR(S)’ DUTIES WITH REGARD TO POST-PETITION TAX RETURNS AND TAX REFUNDS
By April 30th of each year, the Debtor(s) shall provide the Trustee with a true and complete signed copy of their state and
federal income tax return(s) for the preceding year. If an extension is filed, or the Debtor(s) are not required to file a return,
by April 30th of each year, the Debtor(s) shall provide the Trustee with an executed copy of the extension, or Affidavit
stating they are not required to file said return(s). The Trustee shall compute the amount, if any, of the Debtor(s)' refund
that must be turned over and send the Debtor(s) a letter notifying them of this amount. This amount is calculated as follows:
any amount (excluding that received before the commencement of the case) that exceeds (i) monies credited for Earned
Income Credit and/or Child Tax Credit; (ii) $750.00 per Debtor; and (iii) after deductions made for monies owed and/or
incurred for reasonable tax preparation fees, provided they are disclosed to the Trustee at the time of the submission of the
tax returns..

These additional proceeds shall increase the minimum required distribution to the Debtor(s)' allowed general unsecured
creditors as set forth in Paragraph 10 and the Trustee is authorized to increase the base amount of the Debtor(s)' Plan
accordingly. The distribution of these proceeds shall be made in accordance with Paragraph 1, Order of Distribution. Said
funds must be tendered to the Trustee within 30 days of the date of said letter. Failure of the Debtor(s) to comply with any
of the time parameters set forth herein will result in the dismissal of the case without further notice or hearing upon the
Trustee's certification of said default. Notwithstanding the foregoing, nothing contained herein shall prohibit the Debtor(s)
from timely filing a Motion with the Court, seeking authorization to retain all or any portion of such future tax refunds upon
a showing of substantial need.

20. ASSETS ACQUIRED POST-PETITION
Should the debtor(s) acquire or receive any interest in property, outside of their previously disclosed normal financial
affairs, with a fair market value exceeding $2,000.00, AND/OR any interest in property with an undetermined,
unliquidated, or unknown value, they shall immediately file the appropriate amended schedule(s) to disclose the acquisition
or receipt of the same. Examples of such property include, but are not limited to, any financial recovery to which debtor(s)
is or becomes entitled to receive during the pendency of the Chapter 13 plan, claims for personal injury, worker’s
compensation employment/back-pay, worker’s compensation claims, inheritance, life insurance proceeds, bonuses, or gifts.
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  Upon the filing of said amended schedules, the Chapter 13 Trustee or other party in interest shall have sixty (60) days to
  file a motion for turnover of the value of the property at issue. Debtor(s), in turn, may file an objection to such motion
  within twenty-one (21) days seeking leave to retain the value of such property. In the absence of such motion, or if the
  motion is denied, the value of the property will be deemed to have been abandoned by the bankruptcy estate. The value of
  any interest in property acquired by Debtor(s) that is subject to this Paragraph, whether or not disclosed on amended
  schedule(s), shall constitute a payment under the plan due upon Debtor(s)’ interest accruing unless or until the interest is
  abandoned by the Trustee pursuant to the procedures established by this Paragraph. The value of any property ordered to
  be turned over to the Trustee shall be paid into the debtor(s)’ plan as a payment under the plan, inclusive of trustee fees.
  The Trustee is hereby authorized to increase the plan base and minimum required distribution to the Debtor(s)' allowed
  general unsecured creditors as set forth in Paragraph 10 consistent with the provisions of this Paragraph. The Trustee shall
  thereafter disburse the value of property received under this Paragraph in accordance with the provisions of Paragraph 1,
  Order of Distribution.

  21. MISCELLANEOUS TRUSTEE DISBURSEMENT PROCEDURES
  No payment in an amount less than $15.00 shall be distributed by the Trustee to any creditor. Funds not distributed
  because of Bankruptcy Rule 3010(b) shall be paid whenever the accumulation aggregates $15.00. Any funds remaining
  shall be distributed with the final payment.

  After satisfaction of all allowed secured and priority claims being paid by the Trustee, the Trustee is directed to distribute
  the remaining proceeds of the debtor’s plan base to those creditors whose claims have been allowed, but not to exceed 100
  percent of the amount of any claim.

  22. PLAN NOT ALTERED FROM LOCAL FORM
  By signing this Plan below, the Debtor and the Debtor’s counsel certify that the Plan is the local form authorized by the
  Court and contains no non-standard provisions other than those in Paragraph 24.

     23. REASON(S) FOR AMENDMENT(S)
     Set forth a brief, concise statement of the reason(s) for the amendment(s). In addition, if there is a substantial change
     to the proposed Plan payments, or if the Trustee so requests, file an amended Schedule I & J.

     Amended plan filed in response to Lyndon Southern Insurance’s objection addressing valuation and completion.



  THE FOLLOWING PLAN PROVISION WILL BE EFFECTIVE ONLY IF THERE IS A CHECK IN THE BOX
  TITLED “INCLUDED” IN SECTION III ABOVE.
  24. NONSTANDARD PLAN PROVISIONS

  Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision
  not otherwise included in the Local Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are
  void.




Signatures
/s/ KARL J. WULFF                                                     Date: March 7, 2022
Signature of Attorney for Debtor(s)
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                )       IN PROCEEDINGS UNDER CHAPTER 13
                                      )
JORDAN LOYDE SAYGE,                   )       No. 21-40413
                                      )
         Debtor.                      )


                                    CERTIFICATE OF SERVICE

         The undersigned, Karl J. Wulff, attorney for Debtors, hereby certifies that a copy of the

Amended Chapter 13 Plan Number 4 in this matter was mailed to the required parties not being

electronically served as follows:


Jordan Sayge
PO Box 614
Mount Carmel, IL 62863


on this 7th day of March 2022, with the correct postage prepaid and deposited in the U.S. Mail in
Collinsville, Illinois.


                                                     /s/ Karl J. Wulff
                                                     _________________________
                                                     KARL J. WULFF, #06244158
                                                     KATZ & WULFF, P.C.
                                                     Attorney for Debtor
                                                     430 Regency Centre
                                                     Collinsville, IL 62234
                                                     (618) 345-6966
                                                     (618) 345-0705 FAX
                                                     kjwulff@katzandwulff.com
